                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

RICHARD COLON, on behalf of himself
and all others similarly situated,

            Plaintiff,

v.                                                   Case No. 8:17-cv-1578-JDW-MAP

SE INDEPENDENT DELIVERY
SERVICES INC.,

            Defendant.


                      DEFENDANT’S OPPOSITION TO
       PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS


            More than a year after he filed this action, Plaintiff Richard Colon is engaged in a

fishing expedition to try to come up with some factual basis for his allegations against

Defendant SE Independent Delivery Services, Inc. (―SEIDS‖). As Colon‘s own testimony

shows, he filed this suit without any basis for his allegation that SEIDS underpaid him by

misclassifying numerous completed deliveries of furniture as refusals. Now, he belatedly

demands burdensome discovery in hopes of finding a basis for that allegation, filing a motion

to compel just two days before the discovery cutoff. The Court should reject his demand and

deny that motion.

            After SEIDS terminated Colon‘s contract, he and his counsel asked for and received

from SEIDS copies of Colon‘s weekly settlement sheets (which Colon had already been

provided during his roughly four years as an independent contractor). As relevant here, those
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weekly settlement sheets list two categories of payments: payments for deliveries Colon

completed and payments for scheduled deliveries he did not complete, i.e., ―refusals.‖

Colon‘s pay for completed deliveries was generally higher than for refusals.

            Nothing on Colon‘s settlement sheets indicates that any refusal entry is erroneous,

i.e., that SEIDS misclassified any completed delivery as a refusal. Colon and his counsel

have admitted as much. More than eight months ago, Colon testified as follows regarding

refusal entries: ―[T]his paperwork right here [a settlement sheet] doesn‘t explain much.

Now, if we had the manifest for that day with the information on it, customer information

and everything, I could really break it down better. Then I‘ll know what happened that day.

This particular paperwork doesn‘t explain much.‖1 More recently, Colon‘s counsel has

stated: ―Until we see the back ups to the refusals [on the settlement sheets] we cannot gauge

whether they were paid properly.‖2

            Nevertheless, Colon and his counsel decided to shoot first and ask questions (much)

later. They went ahead and filed suit, alleging that numerous refusal entries on Colon‘s

settlement sheets are erroneous, hoping to find some basis for that allegation in discovery.

The Federal Rules of Civil Procedure do not permit this tactic. A plaintiff may obtain

discovery only if he has a factual basis for his claim.3


1
  Ex. A (Excerpts from November 3, 2017 Deposition of Richard Colon (―Colon Dep.‖)) at 66-67. (The full
transcript of the Colon Deposition is in the record as Exhibit Q to Colon‘s Motion for Class Certification, see
Dkt. Nos. 55–58). As Colon now admits, he was wrong about manifests, which simply list scheduled deliveries
and do not show whether a delivery was completed or refused. Dkt. No. 46 (Mot. for Class Certification) at 6
(―However, these manifests do not provide any information about whether the delivery was actually delivered,
exchanged or refused.‖).
2
  Dkt. No. 67-2 (May 18, 2018 email from C. Turner) (emphasis added).
3
  Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (―Rule 8 marks a notable and generous departure from the
hyper-technical, code-pleading regime of a prior era, but it does not unlock the doors of discovery for a plaintiff
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                                                         2
            Perhaps the best evidence that Colon is merely casting about in search of a factual

basis is the spreadsheet he sent SEIDS listing the refusal entries about which he now

demands discovery. In another seemingly tactical move, Colon did not attach that

spreadsheet to his Motion to Compel; SEIDS attaches it here as Exhibit B. As Colon notes,

on June 7, 2018, he sent SEIDS a ―spreadsheet of all of the refusals with corresponding

BATES numbers from the Settlement Sheets again[] asking for any documents that [SEIDS]

has to show whether these specific orders were accepted, refused, partially accepted or

partially refused by the customer.‖4

            What Colon does not note is that this spreadsheet contains 575 entries. Colon does

not even attempt to explain why he is entitled to put SEIDS to the burden of gathering and

producing multiple documents relating to each of these 575 entries. First, the sheer number

makes no sense. In his interrogatory responses and his Motion for Class Certification, Colon

claimed to be seeking damages for 433 refusal entries, not 575.5 More to the point, he

submitted only 8 refusal entries to the Court with his class motion.6 SEIDS produced

documents relating to those 8 entries, but Colon offers no justification for requiring SEIDS to

produce documents for hundreds of additional entries. It appears that Colon has simply

decided that he wants to fish in a larger pond.

            Second, the burden Colon seeks to place on SEIDS outweighs any claimed benefit.



armed with nothing more than conclusions.‖).
4
  Dkt. No. 68 (Mot. to Compel) at 8.
5
  Dkt. No. 46 (Mot. for Class Certification) at 10 (―COLON reviewed his settlement sheets and believes that
SEIDS reduced his pay by marking completed exchanges as refusals approximately 433 times for an estimated
damage of $9,093.00‖).
6
  Id., Exs. I-L (containing 8 entries marked ―REFUSAL‖ for which Colon was paid $9 each).
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The requested documents would not benefit Colon. As detailed infra, at 16-18, SEIDS has

now gathered and produced back-up documents for twenty-six refusal entries on Colon‘s

settlement sheets. Those documents confirm that Colon was paid correctly (or overpaid) for

twenty-five of the twenty-six refusals. The record, infra, at 18, also establishes that it would

take a SEIDS employee two weeks of full-time work to gather all the documents Colon

belatedly demands. There is no justification for putting SEIDS to that burden, especially

when Colon has no basis for the discovery he seeks and is simply casting a net.

            The Court should deny Colon‘s motion because it is procedurally deficient, is

untimely, lacks a factual basis, and the discovery he seeks is not proportional to the needs of

the case.

             THE PROCEDURAL POSTURE AND HISTORY OF THIS ACTION

I.          Procedural Posture

            On March 30, 2018, Colon moved for class certification, and on May 23, 2018,

SEIDS filed its opposition.7 Colon does not contend that his Motion to Compel has any

bearing on his (deficient) Motion for Class Certification. Nor could he—the Motion to

Compel relates solely to Colon‘s own deliveries and not to any transactions involving any

other putative class members. (Indeed, by insisting that he needs documents specific to his

own deliveries to prove his claims, Colon confirms that each contractor‘s claims would turn

on individualized, not class-wide, evidence.) Thus, the Court should proceed to rule on and

deny his Motion for Class Certification.

            The discovery cutoff in this case was July 12, 2018, two days after Colon filed his
7
    Dkt. No. 46 (Mot. for Class Certification); Dkt. No. 67 (Opposition).
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Motion to Compel.8

II.         The History of This Action

            The history of this action is a chronicle of Colon flip-flopping in search of a viable

claim. On May 31, 2017, Colon filed suit and alleged that he ―was to be paid pursuant to the

compensation schedule[]‖ in the Equipment Lease and Truckman‘s Agreement (―ELTA‖).9

He alleged breaches of contract based on SEIDS‘s supposed failure to pay him for specials,

return deliveries, and refusals and its supposed collection of excess insurance premiums.

SEIDS moved to dismiss, noting that the ELTA‘s Compensation Schedule does not include

most of the categories Colon identified and that his insurance premium claim was barred by

the voluntary payment doctrine.10

            Colon then amended his complaint and reversed course, alleging that his pay was not

governed by the Compensation Schedule in the ELTA as written, but instead ―as amended

orally and/or by course of conduct.‖11 He dropped the excess insurance premium claim and

divided his specials claim into two categories, set-up specials and helper specials.

            On November 28, 2017, Colon moved for leave to amend his complaint again,

seeking to add a new insurance premium claim and a claim that SEIDS failed to pay him

proper bonus compensation. The Court denied that motion on December 21, 2017, stating:

            Plaintiff seeks leave to add additional damages and a new breach of contract claim,
            but there ―seems to be no good reason‖ why he could not have included these claims
            earlier in the case. Plaintiff presents no evidence and provides no explanation as to
            why these claims are absent from previous versions of [the] complaint. ―The liberal

8
  Dkt. No. 24 (Case Management Order) at 2.
9
  Dkt. No. 2 (Class Action Compl.) ¶ 16.
10
   Dkt. No. 5 (Mot. to Dismiss).
11
   Dkt. No. 13 (Amended Class Action Compl.) ¶ 16.
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            amendment policy of Rule 15(a) does not countenance the old sporting theory of
            justice or the use of the federal courts as a forum for testing alternate legal theories
            seriatim.‖….In sum, Plaintiff fails to show good cause, or any cause at all, for his
            delay in seeking to include these claims.12

            On March 30, 2018, Colon filed his Motion for Class Certification, in which he

dropped his claims relating to return deliveries and set-up specials and limited his motion to

claims for refusals and helper specials. Thus, at that point, he had asserted and dropped three

claims (return deliveries, set-up specials, excess insurance premiums) and been denied leave

to assert two others (new insurance premiums, bonuses) because of his dilatory conduct.

            Even after he moved for class certification, Colon continued asserting and dropping

claims. Incredibly, he filed a new lawsuit asserting the very claims this Court had denied

him leave to add to this action, and he (successfully) moved to transfer that new suit from

Judge Covington to this Court.13 This Court immediately issued a Show Cause Order stating:

            This case is before the Court sua sponte. Plaintiff, after having been denied leave to
            file a third amended complaint in Colon v. SE Independent Delivery Services, Inc.,
            17-cv-1578-T-27MAP filed a separate lawsuit alleging the same claims he sought to
            add, which was assigned to the Honorable Virginia M. Covington. That case was
            transferred to the undersigned, on Plaintiff‘s motion, under Local Rule 1.04(b).
                     Plaintiff is ORDERED TO SHOW CAUSE within eleven (11) days why
            this case should not be dismissed for violating the rule prohibiting claim splitting.14

Colon voluntarily dismissed the new suit six days later.15

            Colon has thus put SEIDS and the Court to significant effort and expense in dealing

with five claims he has no basis to assert. Among other things, SEIDS had to undertake


12
   Dkt. No. 36 (Order) at 2-3 (citations omitted).
13
   Colon v. SE Independent Delivery Servs., Inc., No. 8:18-cv-1034-T-33TGW (M.D. Fla.) (―Colon II‖),
Dkt. No. 1 (Compl.), Dkt. No. 5 (Mot. to Transfer).
14
   Id., Dkt. No. 9 (Order) (citations omitted).
15
   Id., Dkt. No 10.
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discovery regarding the now-dropped return deliveries and set-up specials claims and had to

investigate all five of the abandoned claims. Colon should not be permitted to put SEIDS

and the Court to even more effort and expense with regard to yet another claim for which he

lacks a factual basis.

III.        The History of This Discovery Dispute

            A.      Colon Testified to His Supposed Need for the Documents at Issue Over
                    Eight Months Ago, on November 3, 2017.

            As set forth supra, n.1, Colon conceded in his November 3, 2017 deposition that his

weekly settlement sheets do not show that any refusal entry is erroneous, i.e., that the

transaction in the entry was actually completed. He also repeatedly testified that he would

need additional documents to have a basis for that allegation:

            Q.      So just looking at that refusal on January 8, 2013, you don‘t know if that was
                    some kind of a refused exchange or simply a delivery that was refused;
                    correct?
            A.      To really understand that particular day and that refusal I would need
                    the proper paperwork to see it.16
                                                        ….

            Q.      Why is it—
            A.      Return deliveries is accurate, I know to be accurate. The refusals, when I
                    further received documentation then I can really pinpoint everything—
                    then I could verify everything.17
                                                    ….

            Q.      I think I do. And so what you still need to do is go through all these refusals
                    and figure out whether or not the customer signed?
            A.      It‘s not that I won‘t get nothing. I would get $9 still. Rooms To Go—since
                    this terminology, everything is in a broad word. Refusals can land under so
                    many different categories. Furthering the documentation, once I receive


16
     Ex. A (Colon Dep.) at 67 (emphasis added).
17
     Id. at 222-23 (emphasis added).
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                   that I could pinpoint. It could be more, it could be less.18

            B.     Colon Failed to Ask for Those Documents Until March 26, 2018.

            Despite Colon‘s November 3, 2017 deposition testimony and his claim that the

documents at issue ―go to the very center of [his] case,‖19 he waited almost five more months

to ask for them. He did not seek those documents until March 26, 2018—four days before he

filed his Motion for Class Certification and almost nine months after he filed this action.20

            C.     SEIDS Timely Responded, But Colon Delayed Prosecuting This Dispute.

            On April 25, 2018, SEIDS timely served its Responses and Objections to Plaintiff‘s

Fourth Request to Produce.21 Despite the supposedly central nature of the documents at

issue, Colon waited twelve days to confer with SEIDS.22 Three days later, SEIDS asked

Colon to specify the order numbers for the refusal entries that are the subject of his discovery

demands.23 This request was more than reasonable given the unclear and shifting nature of

Colon‘s claims (and given that the documents he wants cannot be located without order

numbers). Colon waited four days to respond and did not specify the refusal entries at

issue.24 Finally, on June 7, 2018—forty-three days after he received SEIDS‘s objections and

responses—Colon sent a spreadsheet specifying 575 refusal entries for which he wants
18
   Id. at 225-26 (emphasis added).
19
   Dkt. No. 68 (Mot. to Compel) ¶ 20.
20
   Ex. C (Plaintiff‘s Fourth Request to Produce). Colon‘s Motion to Compel erroneously states that he served
the requests at issue on March 15, 2018. His Motion for Class Certification contains the correct date, stating
that ―documents showing whether a delivery was accepted or returned have been requested by the Plaintiff
pursuant to a Request to Produce served March 26, 2018.‖ Dkt. No. 46 (Mot. for Class Certification) at 7 n.40.
Colon attaches to his Motion to Compel a Request with a certificate of service reciting that it was served on
March 15, but it was not served then—or if it was, SEIDS did not receive it. The Request to Produce that
SEIDS received was served on March 26, 2018, and is attached hereto as Exhibit C.
21
   Dkt. No. 68, Ex. B (Resps. and Objs. to Fourth Request to Produce).
22
   Dkt. No. 68, Ex. C at PAGEID1994-95.
23
   Id. at PAGEID1994.
24
   Id. at PAGEID1993 (―Thank you for your email, but it does not respond to my question.‖).
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SEIDS to produce multiple documents.

            On June 11, SEIDS sent a detailed letter—which Colon also omits from the exhibits

to his Motion to Compel, but is attached hereto as Exhibit D—standing on and further

explaining its objections to Colon‘s burdensome requests.

            Colon did nothing for more than three weeks. Then, on July 5, 2018, he sent SEIDS a

draft Motion to Compel and asked for a conferral on July 9, to which SEIDS agreed. Colon

ultimately filed the motion on July 10, two days before the discovery cutoff.

            Colon and his counsel knew when they filed this case that they would need

documents other than his settlement sheets to support their conjecture that SEIDS

misclassified numerous completed transactions as refusals. Yet they did not request those

documents when they filed the case or when Colon testified on November 3, 2017, that he

needed those documents to prove his allegations. Nor did they diligently prosecute this

dispute after SEIDS objected to Colon‘s discovery requests on April 25, 2018. They did not

bring the dispute to the Court until July 10, 2018, seventy-six days later, and two days before

the discovery cutoff.

                      ARGUMENT AND CITATION OF AUTHORITIES

I.          The Motion to Compel is Procedurally Deficient.

            Colon has failed to comply with Local Rule 3.04(a), which requires that

            [a] motion to compel discovery pursuant to Rule 36 or Rule 37, Fed.R.Civ.P., shall
            include quotation in full of each…request for production to which the motion is
            addressed; each of which shall be followed immediately by quotation in full of the
            objection and grounds therefor as stated by the opposing party…immediately
            followed by a statement of the reason the motion should be granted.


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Colon does not quote the requests to which the motion is addressed, does not quote SEIDS‘s

objections, and obviously does not follow those (nonexistent) quotations with a statement of

reasons why the motion should be granted. He merely attaches SEIDS‘s objections without

addressing them.

            Colon‘s failure to follow the required procedure creates at least two substantive

problems. First, the motion does not frame the issues for the Court because it omits SEIDS‘s

objections rather than explain Colon‘s position on them.

            Second, neither SEIDS nor the Court can be certain of the scope of the motion.

Colon‘s Fourth Request to Produce contains three different requests, but the argument in his

motion appears to be devoted exclusively to the first request.

            Request Number 2 is an absurd demand for ―all Blue Vista data that references

COLON, his deliveries, exchanges, refusals, specials or returns.‖25 Blue Vista is SEIDS‘s

internal computer system. Essentially, Colon asks SEIDS to produce every electronic

document that mentions him or any furniture he delivered or attempted to deliver over the

course of almost four years—without regard to whether the document has anything to do

with the claims in this case. (Colon made thousands of deliveries for which he does not

allege he was underpaid). The motion contains no discussion of this request and no

justification for compelling further production in response to it. Likewise, the motion

contains no discussion of or justification for compelling further production in response to

Request Number 3, which relates to policies and procedures.

            The Court should deny Colon‘s Motion to Compel for failure to comply with Local
25
     Dkt. No. 68, Ex. A at 2.
1691672.1
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Rule 3.04(a). Southern Gardens Citrus Processing Corp. v. Barnes Richardson & Colburn,

2012 WL 12905615, at *1 (M.D. Fla. Mar. 6, 2012), is on point:

            The Court finds that Plaintiffs have failed to comply with Local Rule 3.04(a).
            Plaintiffs have not quoted which request for production the motion is addressed to
            and have failed to quote the objections and grounds as stated by the Defendants in the
            Response to the Request for Production and argue to the Court why it should compel
            the Defendants to respond. The Plaintiffs‘ failure to comply with the Local Rules is
            fatal to its request and the Motion is due to be denied.

This Court reached the same result in Cashman v. Host International, Inc., 2010 WL

11507475, at *1 (M.D. Fla. Nov. 5, 2010) (Pizzo, J.) (denying motion to compel where it

―fails to comply with Local Rule 3.04(a)‖).26

II.         The Motion to Compel Is Untimely.

            Colon‘s delays in seeking the documents at issue and prosecuting this discovery

dispute, detailed supra, at 7-9, also warrant denial of his Motion to Compel. The facts here

are similar to those in Malibu Media, LLC v. Weaver, 2016 WL 473133 (M.D. Fla. Feb. 8,

2016). In that case, ―[d]espite conferring in mid-November of 2015, [the movant] waited

until the day before the discovery deadline was set to lapse [January 7, 2016] to file his

motions to compel.‖27 Judge McCoun ―found that [the movant] failed to provide a ‗reason or

good cause for the delay in bringing the motions.‘‖28 Judge Covington rejected the movant‘s

objections to that ruling, holding that granting the motions to compel would resulted in a de

facto extension of the discovery deadline and that the movant ―presented no justifying reason



26
   See also, e.g., D’Aprile v. UNUM Life Ins. Co., 2010 WL 2757408, at *1 (M.D. Fla. July 13, 2010) (denying
motion to compel for failure to comply with Local Rule 3.04(a)).
27
   Malibu Media, 2016 WL 473133, at *2.
28
   Id. at *1.
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to the Court for doing so.‖29

            Colon‘s delay is more egregious. He waited almost nine months after filing this

action to request documents that he now says are central to his claims (May 31, 2017 to

March 26, 2018). He waited almost five months to request those documents after testifying

that he had no basis for his claims without them (November 3, 2017 to March 26, 2018).

And he allowed seventy-six days to lapse between the time he received SEIDS‘s objections

and the time he filed his motion to compel (April 25, 2018 to July 10, 2018), including the

last three weeks of the discovery period in which he simply sat on his hands. Colon does not

acknowledge, let alone explain or justify, any of these delays. He has ―not provide[d]

sufficient justification for failing to file a motion to compel or otherwise appropriately

address Defendant‘s production or objections‖ until two days before the close of discovery.30

            Colon‘s delay is not merely a technical failure. If the Court were to grant the motion

to compel, SEIDS would have to (1) search for and produce documents outside the discovery

period, (2) await Colon‘s supplementation of his responses to SEIDS‘s interrogatories asking

him to specify each breach of contract he alleges and the basis for each allegation, and

(3) move for an extension of the (August 10, 2018) deadline for filing dispositive motions

because the final scope of Colon‘s claims would be unclear. Colon simply ignores the effect

his delays would have on the schedule in this case.

            As this Court stated in BB&T Co. v. Shirley Investment Properties, 2013 WL

12158612, at *1 (M.D. Fla.) (Pizzo, J.), ―[t]his district follows the rule that the completion

29
  Id. at *2.
30
  Oil Consulting Enter. v. Hawker Beechcraft Glob. Customer Support, LLC, 2017 WL 7355128, at *1 (M.D.
Fla. Dec. 21, 2017).
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date for discovery means just that—all discovery must be completed by that date.‖

(Emphasis in original).31 In BB&T, the defendants waited sixty days after receiving

discovery responses ―to seek Court intervention regarding Plaintiff‘s allegedly deficient

discovery responses.‖32 This Court denied the defendants‘ motions to compel, stating,

―Simply put, [the defendants] waited too long to complain.‖33 The same is true here: This

dispute is being resolved outside the discovery period because Colon delayed seeking

documents and court intervention. The Court should deny his motion.

III.        The Federal Rules Do Not Permit Colon to Undertake a Fishing Expedition to
            Search for Proof of a Claim He Asserted Without Any Factual Basis.

            It is well-settled that a plaintiff must have a factual basis for a claim in order to put a

defendant to the burden of discovery. As this Court has stated:

            Rule 11, Federal Rules of Civil Procedure, provides that ―[b]y presenting to the court
            a pleading, written motion, or other paper ... an attorney or unrepresented party
            certifies that to the best of the person‘s knowledge, information, and belief, formed
            after an inquiry reasonable under the circumstances,‖ and that, among other things,
            ―the claim[]...and other legal contentions are warranted by existing law...,‖ and ―the
            factual contentions have evidentiary support...‖ Fed. R. Civ. P. 11(b). The Rules
            of Civil Procedure do not contemplate that a plaintiff may file a complaint rife with
            conclusory and speculative allegations, hoping to find data and evidence to support
            the allegations through subsequent discovery.34

Discovery ―is not intended to allow a plaintiff to go on a fishing expedition to see if the




31
   See also Oil Consulting, 2017 WL 7355128, at *1 (―[F]iling a substantive motion to compel on the last day of
discovery does not comply with the policy of the Middle District of Florida for the completion of discovery and
the resolution of issues related to discovery prior to the discovery deadline. Instead, ‗[m]otions to compel must
be brought in a timely manner.‘‖) (citation omitted).
32
   2013 WL 12158612, at *1.
33
   Id.
34
   Moss v. Liberty Mut. Fire Ins. Co., 2017 WL 4676629, at *7 (M.D. Fla. Aug. 18, 2017) (emphasis added)
(citing Iqbal, 556 U.S. at 678-79).
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speculative complaint that he has filed has any basis in fact.‖35

            Yet that is precisely what Colon is doing. He filed this action without any evidentiary

support for his conjecture that SEIDS misclassified numerous completed deliveries as

refusals. The sole ―basis‖ he cites for that allegation is a conspiracy theory he concocted out

of whole cloth. Colon speculates that, because it is theoretically possible for SEIDS to alter

pay rates in its computer system, the company reduced $30 payments for his completed

exchanges to $9 payments for refusals if a customer later exchanged or returned the furniture

Colon delivered.36 This theory has no basis in reality. Colon does not identify a single

transaction in which he made an exchange and the customer later returned the furniture,

much less one in which his pay was reduced in the computer system.

            Terri Harrington, the Accounting Manager for the SEIDS division in which Colon

worked, provided unrebutted testimony that $30 exchange payments were never reduced to

$9 refusal payments:

            Q.     Okay.· They do the exchange and then a day later the customer calls up and
                   says I want another exchange, I don‘t like the color of the one that was
                   just delivered, okay?
            A.     Yes.
            Q.     Are you with me?· The driver that did that initial exchange that was paid $30,
                   how are -- do they keep their $30 if they are -- if that sofa is later exchanged
                   again –
            A.     Absolutely.
            Q.     -- a day later?
·           A.     Absolutely.
35
   Centrifugal Air Pumps Austl. v. TCS Obsolete, LLC, 2011 WL 1627167, at *2 (M.D. Fla. Apr. 29, 2011)
(quoting Lazarre v. JPMorgan Chase Bank, N.A., 780 F. Supp. 2d 1320, 1329 n.16 (S.D. Fla. 2011) (citation
and internal quotation marks omitted)); see also, e.g., Belik v. Carlson Travel Grp., Inc., 864 F. Supp. 2d 1302,
1314 (S.D. Fla. 2011) (―Plaintiff‘s attempt to reverse the logical sequence in litigation—claim first, discovery
later—is unavailing.‖).
36
   Dkt. No. 68 (Mot. to Compel) ¶¶ 16-17 (outlining this theory and citing no evidence that any pay rate was
actually changed); Dkt. No. 46 (Mot. for Class Certification) at 10 (same).
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            Q.     So that‘s not ever reduced to a refusal?
            A.     No.
            Q.     Okay.· Or reduced to nine dollars?
            A.     No.37

            Colon‘s attempt to make something out of a supposed statement by Harrington that

SEIDS pays $9 ―when a job ain‘t completed‖ is bizarre. Colon himself agrees that he was to

be paid $9 for refusals,38 and that he was entitled to higher base compensation only for

deliveries ―which the customer accepts.‖39 In other words, he agrees that he was to be paid

$9 if a job was not completed. Further, Colon acknowledges that SEIDS was overpaying

him for exchanges: as he states, the contract (the ELTA) calls for a payment of $16.96 per

exchange, but SEIDS paid Colon $30 for exchanges.40 The bottom line is that there is no

basis for Colon‘s claim that numerous refusals were misclassified and no basis for him to put

SEIDS to the burden of further discovery regarding that allegation.



IV.         The Requested Discovery Is Not Proportional: The Burden Outweighs the
            Supposed Benefit.

            As this Court stated in Sardis v. Home Depot, U.S.A., Inc., 2017 WL 3723618, at *1

(M.D. Fla. Apr. 19, 2017) (Pizzo, J.), ―Discovery under the Federal Rules is governed by the

principle of proportionality.‖ Here, the requested discovery is not proportional because the

burden outweighs any supposed benefit.


37
   Dkt. No. 67-4 (Excerpts from Deposition of Terri Harrington (―Harrington Dep.‖)) at 74-75. Colon filed the
full transcript of the Harrington Deposition under seal on May 18, 2018. (Dkt. No. S-66).
38
   Dkt. No. 68 (Mot. to Compel) ¶ 6 (―SEIDS paid the [contractors] in COLON‘s territory $9.00 for a ‗refusal of
goods‘ rather than the $0.00 described in the compensation schedule‖).
39
   Id. ¶ 8; id. ¶ 3 (base compensation is paid for a delivery only ―if accepted by the customer‖). Despite having
all of his settlement sheets, Colon fails to specify the exchange to which Harrington was supposedly referring.
40
   Id. ¶ 5.
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            First, with respect to ―the importance of the discovery‖ and its ―likely benefit,‖41 the

documents at issue will likely be of no benefit to Colon because they will confirm that the

refusal entries on his settlement sheets are correct. SEIDS has now searched for and

produced the back-up documents for twenty-six refusal entries on Colon‘s settlement sheets.

Those documents confirm that Colon was paid appropriately for twenty-five of the

transactions (96%). SEIDS acknowledges that there is doubt about one transaction, the

Flournoy transaction that Colon discusses in his motion.42

            SEIDS has undertaken the following efforts: When Colon filed his Motion for Class

Certification, he submitted settlement sheets containing eight refusal entries for which he was

paid $9.43 As Colon acknowledges in his Motion to Compel, SEIDS searched for and

produced four back-up documents for each of those entries: the delivery history, the

customer service notebook, the sales order, and the check-in report.44 In addition, when

Colon filed his Motion to Compel, SEIDS‘s counsel selected a sample of twenty refusal

entries from Colon‘s spreadsheet (simply picking every thirtieth entry on the spreadsheet)

and asked Harrington to pull the same four back-up documents for each entry.45 SEIDS has

now produced those documents to Colon.

            The results for the twenty-six refusal entries are summarized in the chart attached as


41
   Fed. R. Civ. P. 26(b)(1).
42
   The customer service notes for the Flournoy transaction (which SEIDS has produced) reflect some confusion
about whether and when the furniture was delivered. Significantly, Colon was able to develop evidence to
support his position that the furniture was delivered (an affidavit) without the broad, burdensome discovery he
now demands from SEIDS.
43
   Supra n.6.
44
   See Dkt. No. 67-3 (May 23, 2018 Declaration of Terri Harrington), Exs. A-O (attaching most of these
documents to SEIDS‘s Opposition to Colon‘s Motion for Class Certification).
45
   Ex. E (July 19, 2018 Declaration of Terri Harrington) ¶¶ 3-4.
1691672.1
                                                      16
Exhibit F to this Opposition and are as follows:46 (1) For twenty-three of the entries, the

back-up documents confirm that the scheduled delivery was not completed, such that $9 was

the proper payment; (2) for one entry, the $9 that Colon was paid was more than the base

compensation he claims he was owed (2.1% of retail value) because the retail value of the

item was $49.99; (3) one entry that Colon lists on his spreadsheet is a gift card transaction,

not a delivery; and (4) there is doubt about one transaction (Flournoy).47

            Colon‘s refusal to accept what the documents show is astonishing. In his Motion to

Compel, Colon argues that the back-up documents for entry 17203432EX contain a customer

signature and thus that he should have been paid $30 for a completed exchange rather than $9

for a refusal.48 But he ignores the following facts, all of which demonstrate that the delivery

was in fact refused:

           the customer signature is on a document that contains a ―Rejection Reason‖ of ―ON
            ARM,‖49

           the customer service notes expressly state that ―MS REFUSED‖ the delivery because
            ―ACCENT CHAIR RECEIVED WITH TEAR AND HOLE ON RSF ARM,‖

           the notes reiterate a second time that ―CUST[OMER] REF[USED]‖ the delivery,

           the customer asked for store credit,50 and

           the check-in report shows that the accent chair was checked back into the warehouse,
            not delivered to the customer.51
46
   The total number of entries is twenty-six rather than twenty-eight because two of the original eight entries
from the class certification motion and one of the recently sampled entries (coincidentally) relate to the
Flournoy transaction.
47
   The documents cited in the chart (Exhibit F) are attached hereto as Exhibit I.
48
   Dkt. No. 68 (Mot. to Compel) ¶ 33.
49
   Ex. G (delivery history) (document also in the record at Dkt. No. 67-3 (May 23, 2018 Harrington Dec.),
Ex. F) (emphasis added).
50
   Ex. H (customer service notes) (also in the record as Dkt. No. 68 (Mot. to Compel), Ex. E) (emphasis added).
51
   Dkt. No. 68 (Mot. to Compel), Ex. G.
1691672.1
                                                      17
These facts all show the fallacy in Colon‘s apparent assumption that a customer signature is

conclusive proof that a delivery was accepted. Further, Harrington provided express,

unrebutted testimony that contractors attempt to obtain signatures from customers even when

a delivery is refused, as proof that the contractor went to the delivery location.52

            Colon cannot establish that the documents at issue will be helpful to him by

pretending that they say deliveries were accepted when they actually say that deliveries were

refused. The record establishes that it is extraordinarily unlikely that the documents he

demands will be of any benefit to him.

            Second, the ―burden or expense of the proposed discovery outweighs its likely

benefit.‖53 Harrington testified that it took her 160 minutes to search for and pull the four

documents Colon demands (delivery history, customer service notebook, sales order, check-

in report) for nineteen refusal entries on his spreadsheet: an average of 8.4 minutes per

entry.54 Thus, the record reflects that it will take more than 80 hours for SEIDS to gather the

documents at issue (575 entries x 8.4 minutes = 4,830 minutes; 4,830 minutes = 80.5 hours).

There is no reason that a SEIDS employee should have to spend two full work-weeks pulling

these documents when the record reflects that the production of these documents will almost

certainly be no benefit to Colon.

            Such effort is also unwarranted because, as set forth supra, n.5, Colon is claiming

total damages of $9,093. SEIDS has already spent far more than that amount complying with


52
   Dkt. No. 67-3 (May 23, 2018 Harrington Dec.) ¶ 6.
53
   Fed. R. Civ. P. 26(b)(1).
54
   Ex. E (July 19, 2018 Harrington Dec.) ¶ 4.
1691672.1
                                                       18
Colon‘s previous discovery requests in this case; it should not have to bear the additional cost

of paying a full-time employee to spend two weeks meeting further, belated discovery

demands (particularly when Colon has forced SEIDS to address five now-dropped claims and

been proved wrong almost every time on his remaining claims).

            The Court should deny Colon‘s Motion to Compel.



            Respectfully submitted this 23rd day of July, 2018.

                                               /s/ Chad K. Lennon

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                                  CERTIFICATE OF SERVICE

            I certify that this document has been filed using the Court‘s CM/ECF system, which

will automatically send electronic notice to all counsel of record.

            This 23rd day of July, 2018.

                                                       /s/ Chad K. Lennon
                                                       Chad K. Lennon




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